Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 1 of 6
Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 2 of 6
Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 3 of 6
Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 4 of 6
Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 5 of 6
Case 3:05-cr-00010-MEF-TFM Document 119 Filed 07/18/05 Page 6 of 6
